                      IN THE UNITED STATES BANKRUPTCY COURT
                             FOR THE DISTRICT OF KANSAS

In Re:                                               )
                                                     )
JILL ANNETTE REITER                                  )     Case No. 14-40074-13
                                                     )
                                                     )
                                            Debtors. )

                           NOTICE OF OBJECTION DEADLINE
                       ON MOTION FOR RELIEF FROM ORDER


         YOU ARE HEREBY notified that if no objection to the attached motion/application is filed
                  in writing with the Clerk of the U.S. Bankruptcy Court by:

                                        January 19, 2018

said motion will be granted by entry of an order to be prepared and submitted by counsel for
movant/applicant.

      If a written objection is timely filed with the Clerk of the Bankruptcy Court at 240 US
Courthouse, 444 SE Quincy St., Topeka, KS 66683, a hearing will be scheduled on:

                                 February 20, 2018, at 1:30 p.m.
                                      210 US Courthouse
                                       444 SE Quincy St
                                     Topeka, Kansas 66683

       Hearing will not be held on this motion unless an objection and/or response is timely filed
with the Clerk.

DATED: December 28, 2017

                                               Respectfully submitted,

                                               s/ Robert L. Baer
                                               Robert L. Baer #9387
                                               112 SW 6th Ave Suite 408
                                               Topeka KS 66603
                                               785-730-8542
                                               Email: rbaer@epitrustee.com
                                               Attorney for J. Al Ward, Sandra Ward
                                               And Taco Hut of Topeka, Inc.




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                              CERTIFICATE OF SERVICE

        I hereby certify that on December 28, 2017 a true and correct copy of the MOTION FOR
RELIEF FROM ORDER AND NOTICE OF OBJECTION DEADLINE was electronically filed
with the U.S. Bankruptcy Court of the District of Kansas using the CM/ECF system, which sent
notification to all parties of interest participating in the CM/ECF system.

       Further, I certify that a copy of the MOTION FOR RELIEF FROM ORDER AND
NOTICE OF OBJECTION DEADLINE was served by U.S. Mail, first class, postage prepaid and
properly addressed to all persons/entities shown on the attached creditor matrix and to:

Roy Upshaw
133 Aviator Dr.
Ft. Worth, TX 76179




                                            s/ Robert L. Baer
                                            Robert L. Baer #9387




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